16-01020-jlg          Doc 31           Filed 12/18/17    Entered 12/18/17 14:05:43    Main Document
                                                        Pg 1 of 2



                                  Tirelli & Wallshein, LLP
   Westchester Financial Center                                         115 Broad Hollow Road
   50 MAIN STREET, STE. 405                                             SUITE 350
   WHITE PLAINS, NEW YORK 10606                                         MELVILLE, NY 11747
   PHONE (914)732-3222                                                  (631)824-6555
   Linda M. Tirelli*
   Charles H. Wallshein**

   *Admitted CT, USDCCT, SDNY, EDNY and SCOTUS
   **Admitted NY, USDC EDNY



                                                                      December 18, 2017
   Hon Judge James L Garrity
   United States Bankruptcy Court
   One Bowling Green
   New York, NY 10004

   RE:        Status Report / Base Ch 13 and Adversary

              16-01020-jlg Cocoletzi et al v. Orly
              15-11650-jlg Amir Orly

   Dear Honorable Judge Garrity:

   Please accept this as the Debtor / Plaintiff’s Case Status Report for the above captioned
   base chapter 13 bankruptcy case and the related pending adversary proceeding.

   Exactly as I reported on November 27, 2017 in a status report to the court, ( ECF Dkt #
   27) once again, since the last appearance before Your Honor there have not been any
   changes in the status of the action pending in the U.S. District Court for S.D.N.Y. Mr.
   Androphy has requested a certificate of default be entered as to Mr. Orly and a co-
   defendant, and the clerk did file a certificate on July 28, 2017 noting the default. In a
   status report to this Court dated December 14, 2017 (ECF Dkt # 30), concedes that his
   office has done nothing and the Debtorremains at his mercey to close both the pending
   adversary proceeding and his Chapter 7 case. Mr. Androphy says that his firm will file a
   motion seeking entry of default judgment “at the end of January.”

   The base chapter 7 case and the adversary case pending before Your Honor remain at a
   standstill. If Mr. Androphy’s clients are doing nothing to prosecute and advance their
   case in the U.S. District Court, the Debtor can do nothing to move his bankruptcy case
   towards closure. The debtor came to this court seeking a fresh start which he truly needs
   and deserves. Mr. Orly’s case has since been hijacked by the pending adversary and is at
   the mercy of a dormant case sitting in the US District Court. The Debtor is stuck now
16-01020-jlg   Doc 31     Filed 12/18/17     Entered 12/18/17 14:05:43       Main Document
                                            Pg 2 of 2


   waiting for opposing counsel to act, which he doesn’t seem prepared to do any time soon.
   The Debtor respectfully requests this court take firm and immediate action to dismiss the
   adversary proceeding for lack of prosecution and enter a discharge order to allow this
   debtor closure and a fresh start. The undersigned will attend the next court appearance on
   Wednesday, December 20, 2017 at 2:00pm.

   Thank you for Your Honor’s continued patience with this case. I remain

                                        Very truly yours,
                                        __/s/ Linda M. Tirelli, Esq.
                                        Linda M Tirelli, Esq.
   cc: Josha Androphy, Esq.
